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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF TEXAS
                            MARSHALL DIVISION



 INTELLECTUAL VENTURES II LLC,

                        Plaintiff,

                   v.

 FEDEX CORP., FEDERAL EXPRESS                Civil Action No. 2:16-cv-00980-JRG
 CORP., FEDEX GROUND PACKAGE
 SYSTEM, INC., FEDEX FREIGHT, INC.,
 FEDEX CUSTOM CRITICAL, INC.,                JURY TRIAL DEMANDED
 FEDEX OFFICE AND PRINT SERVICES,
 INC., and GENCO DISTRIBUTION
 SYSTEM, INC. (d.b.a. FEDEX SUPPLY
 CHAIN DISTRIBUTION SYSTEM, INC.),

                        Defendants.



                        DEFENDANTS’ MOTIONS IN LIMINE
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        Defendants FedEx Corp., Federal Express Corp., FedEx Group Package System, Inc.,

 FedEx Freight, Inc., FedEx Custom Critical, Inc., FedEx Office and Print Services, Inc., and

 GENCO Distribution System, Inc. (“the FedEx Defendants”) move for an order in limine

 instructing counsel and all witnesses not to mention, discuss, or allude to any of the following

 issues, whether in voir dire, opening statement, examination of witnesses, offering of evidence,

 interposing or arguing objections, eliciting testimony, closing argument, or any other manner

 without first approaching the bench and seeking permission from the Court. If these matters are

 injected into the trial of this case through a party, attorney, or witness, they risk causing

 irreparable harm to the FedEx Defendants that no jury instruction could cure. Additionally,

 sustaining an objection to questions, comments, or other offers of evidence as to such topics at

 trial would serve only to reinforce the prejudicial impact of such matters. For the same reasons,

 curative instructions are incapable of preventing the prejudicial impact of these topics.

    1. IV Should Be Precluded from Referencing Noninstituted Inter Partes Review
       Proceedings

        The Court should prevent IV from referencing any noninstituted inter partes review

 proceedings, including reference to claims that were not instituted and any decisions by the

 Patent Trial and Appeal Board (“Board”) related to noninstituted claims. Denials of IPR petitions

 have no probative value to any issue before the jury because such denials lack preclusive effect.

 See Shaw Indus. Grp., Inc. v. Automated Creel Sys., Inc., 817 F.3d 1293, 1300 (Fed. Cir. 2016)

 (no estoppel for noninstituted grounds). Moreover, the Board employs different standards,

 including those for claim construction, thus evidence of the Board’s findings would be irrelevant,

 confusing, and prejudicial. The Board also elected to exercise its procedural discretion for certain

 noninstituted petitions and provided no substantive analysis—these decisions are particularly

 unhelpful to the trier of fact in this case. Therefore, any marginal probative value of the Board’s

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 noninstitution decisions, whether on substance or on procedure, are far outweighed by the risk of

 substantial prejudice to the FedEx Defendants. See VirnetX, Inc. v. Cisco Sys., Inc., 767 F.3d

 1308, 1324-25 (Fed. Cir. 2014) (excluding evidence of Patent Office proceedings from trial by

 finding its probative value substantially outweighed by the risk of unfair prejudice and jury

 confusion).

        For example, jurors may be misled into believing that the Patent Office already decided

 the validity of IV’s patents, or even that a noninstitution decision is an affirmative finding of

 validity by the Board. This would significantly undercut the FedEx Defendants’ invalidity

 contentions at trial and confuse to the jury. Any explanation provided by the parties or the Court

 to minimize this prejudice, including an explanation of the procedural nuances of noninstitution

 decisions, the bases for the Board’s denials, or the scope of the noninstituted petitions, would fail

 to cure the clear confusion and prejudice created by their reference.

        This Court has previously excluded evidence of noninstituted IPR petitions for these

 reasons. See, e.g., Realtime Data LLC v. NetApp, Inc., No. 6:16-cv-00961, slip op. at 2 (E.D.

 Tex. Dec. 20, 2017) (Dkt. 301) (Ex. A); Barry v. Medtronic, Inc., No. 1:14-cv-00104, slip op. at

 4-5 (Oct. 28, 2016) (Dkt. 379) (Ex. B). Other districts have as well. See, e.g., ABS Glob., Inc. v.

 Inguran, LLC, No. 3:14:cv-00503, 2016 WL 3996167, at *7-8 (W.D. Wis. July 22, 2016) (“Any

 probative value of the PTAB ruling is far outweighed by the potential for unfair prejudice and

 risk of jury confusion because the IPR proceeding is subject to different standards, purposes and

 outcomes than the original prosecution and the court proceeding.”). Accordingly, under FED. R.

 EVID. 403, the Court should exclude any evidence or argument regarding IPRs for which the

 Board denied institution. This motion in limine is not intended to cover admissions by parties,




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 including admissions made by party’s experts presented in, for example, expert declarations and

 deposition testimony.

    2. IV Should Be Precluded from Referencing Any Inter Partes Review Final Written
       Decision

        Similar to the above request, the Court should exclude IV from referencing any final

 written decision from any IPR proceeding. Final written decisions for four pending IPR

 proceedings currently instituted against IV’s patents are due on or around July 25, 2018. See

 IPR2017-00729, IPR2017-00741, IPR2017-00787, IPR2017-00859. To the extent any final

 written decision is issued before or during trial, IV should be precluded from referencing it

 because doing so would present extreme prejudice to the FedEx Defendants. See, e.g., VirnetX,

 767 F.3d at 1324-25; Realtime Data LLC, slip op. at 2 (Ex. A); Arthrex, Inc. v. Smith & Nephew,

 Inc., No. 2:15-cv-01047, slip op. at 2 (E.D. Tex. Nov. 8, 2016) (Dkt. 261) (Ex. C).

        A jury is likely to be confused as to the meaning of a final written decision, including

 how findings of validity or invalidity affect the present case. Patent claims are not canceled

 following a final written decision until “the time for appeal has expired or any appeal has

 terminated,” 35 U.S.C. § 318(b), and a jury is ill-equipped to understand the complicated

 procedural mechanisms by which an IPR decision is appealed. Thus, entry of this evidence

 should be excluded. Personalized Media Commc’ns, LLC v. Zynga, Inc., No. 2:12-cv-00068,

 2013 WL 10253110, at *1 (E.D. Tex. Oct. 30, 2013) (“While the pending Inter Partes Review

 may have some relevance, the Court finds that the danger of undue prejudice is extremely high

 and that danger cannot be mitigated simply by the use of a limiting instruction.”) (citations

 omitted); ABS Glob., Inc. v. Inguran, LLC, No. 14-cv-00503, 2016 WL 4009987, at *3 (W.D.

 Wis. July 25, 2016) (excluding reference to IPR proceedings on appeal at the Federal Circuit

 because it creates a “high risk of undue prejudice and confusion, both because the standards

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 involved in IPR proceedings are different and because the IPR proceedings have yet to be

 resolved”).

     3. IV Should Be Precluded from Referencing That the Patentee Overcame a Prior Art
        Reference Listed on the Face the Asserted Patents

         The Court should preclude IV from presenting arguments that the patentee overcame a

 prior art reference listed on the face of an asserted patent, as such evidence will undoubtedly

 confuse the jury and severely prejudice the FedEx Defendants. See Arthrex, slip op. at 2 (Ex. C).

         As with other proceedings, referencing whether the Patent Office considered a particular

 reference or not has more prejudicial effect than probative value. Jurors are likely to misbelieve

 that the Patent Office conclusively decided the validity of IV’s patents with respect to a

 considered reference and disregard Defendants’ arguments otherwise at trial. Compounding this,

 it is likely that IV will move to exclude evidence of the Defendants’ instituted IPR

 proceedings—proceedings that in some cases are based on patents listed on the face of the

 asserted patents. See IPR2017-00729 (trial instituted based on Rappaport, which was listed on

 the face of the ’581 patent). It would be extremely unfair to allow IV to argue a particular

 reference was already considered by the Patent Office, and then preclude the Defendants’ from

 presenting evidence that the same reference is currently part of a proceeding (before a higher

 authority in the Patent Office) to invalidate IV’s patent. The jury should hear the full story or

 none at all.

     4. IV Should Be Limited to the Infringement Theories Presented in Its Expert Reports

         IV should be prevented from presenting infringement theories that are not disclosed in its

 expert reports. Under Rule 26(a)(2)(B), a testifying expert witness must provide a report

 containing a complete statement of all opinions and the facts to support those opinions. An

 expert cannot testify to opinions that are not disclosed in their report unless the failure to disclose

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 “was substantially justified or is harmless.” FED. R. CIV. P. 37(c)(1); see also O2 Micro Int’l Ltd.

 v. Monolithic Power Sys., Inc., 467 F.3d 1355, 1368-69 (Fed. Cir. 2006); Gonzalez v. Infostream

 Grp., Inc., No. 2:14-cv-906, 2016 WL 475172, at *3 (E.D. Tex. Feb. 7, 2016) (“Rule 26 prevents

 [the expert] from testifying outside the scope of his report.”).

        As one notable example, IV’s complaint, infringement contentions, and expert reports

 nowhere alleged that any Defendant was vicariously liable for allegedly infringing the ’586

 patent. After Defendants pointed out how no named Defendant makes, uses, or sells the most of

 the ’586 Accused Instrumentalities, IV’s expert tried to suggest—for the first time at his

 deposition—that FedEx Corp. was vicariously liable for the acts of an unnamed entity FedEx

 Services. See Dkt. 271 at 8-12; Dkt. 364 at 4-5. After Defendants pointed out the flaws in this

 allegation as well (see, e.g., Dkts. 271, 275), IV then presented yet another new theory in its

 opposition for summary judgment. There, IV alleged that “FedEx” collectively (IV did not

 specify who) was vicariously liable for the acts of its customers. Dkt. 356 at 13-14. Undeterred,

 IV then inconsistently maintained in still another paper that FedEx Express and Ground are not

 vicariously liable for direct infringement of the ’586 patent, see Dkt. 353 at 3, then later asserted

 that they are, id. at 20, and all the while never explaining whose actions they are purportedly

 liable for. Simply put, it will be impossible for the Defendants to mount a meaningful defense

 against such shapeshifting arguments at trial, and the risk of jury confusion is substantial.

 Accordingly, the Court should limit IV to presenting infringement theories enumerated in its

 expert reports and not permit IV to change its arguments midstream to suit the needs of the

 moment.




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    5. IV Should Be Precluded from Alleging Infringement by Unnamed Parties in the
       Case, including FedEx Services

        IV should be precluded from referencing, eliciting testimony (including expert

 testimony), or presenting any argument alleging infringement by any unnamed party. From the

 outset of this case, the FedEx Defendants made IV aware that FedEx Services



                                     . See Dkt. 34 at 2, 5 (finally acknowledged by IV at Dkt. 367

 at 5). Despite this knowledge, IV chose not to amend its complaint to add FedEx Services.

 Therefore, IV should be precluded from alleging any type of infringement against FedEx

 Services or any other unnamed entity because it is not probative of any fact at issue in this case

 and would only serve to confuse the jury. See Home Ins. Co. v. Gates McDonald & Co., No. cv-

 01-07365, 2004 WL 5486631, at *3 (C.D. Cal. Feb. 9, 2004) (excluding evidence regarding

 relationship between defendant and corporate parent as irrelevant). The only reason for IV to

 proffer testimony regarding non-party FedEx Services would be to conflate the FedEx entities

 and/or to impute their actions to named defendants, which this Court has previously recognized

 as improper. See, e.g., Realtime Data, LLC v T-Mobile U.S.A., Inc., No. 6:10-cv-493, slip op. at 2

 (E.D. Tex. Jan. 25, 2013) (Dkt. 599) (Ex. I) (Granting motion in limine precluding remarks

 imputing improper acts by non-party Flash Networks to defendant T-Mobile) (Ex. D). The risk

 of juror confusion is substantial here, given the similar naming of the various FedEx entities, and

 the jury’s presumed lack of familiarity with the corporate and legal distinctions between the

 various FedEx corporate entities.




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    6. IV Should Be Precluded from Presenting Evidence on Conception and Reduction to
       Practice Beyond that Stated in its Responses to Interrogatory No. 16

        The date of invention is presumed to be the date a patent application is filed unless shown

 otherwise. See Ecolochem, Inc. v. S. Cal. Edison Co., 227 F.3d 1361, 1371 (Fed. Cir. 2000). To

 prove an earlier date, the patent holder has the burden to show the invention was (a) reduced to

 practice prior to the filing date, or (b) conceived prior to the filing date and the patent holder

 exercised diligence in reducing the invention to practice. Mahurkar v. C.R. Bard, Inc., 79 F.3d

 1572, 1577-78 (Fed. Cir. 1996). Proving an earlier conception date requires corroborating

 evidence—inventor testimony is insufficient as a matter of law. Id. at 1577; see also Allergan,

 Inc. v. Apotex Inc., 754 F.3d 952, 967-68 (Fed. Cir. 2014).

        IV should be precluded from discussing conception, reduction to practice, or any other

 information regarding the development of the alleged inventions beyond the information

 specified in IV’s responses to Interrogatory No. 16. Ex. E. For the ’356 patent, IV provided no

 information beyond that stated on the face of the patent (id. at 3), and thus IV should be

 precluded from discussing conception, reduction to practice, or other information regarding the

 development of the alleged invention of the ’356 patent. For the ’715 patent, IV’s original

 response merely stated information from the face of the patent (id.), and its supplemental

 response made conclusory statements about a “team” at Kimberly-Clark that developed the

 invention but lacked any citation to evidence (id. at 5). Neither response conveyed substantive

 information, and thus IV should be precluded from discussing conception, reduction to practice,

 or other information regarding the development of the alleged invention of the ’715 patent. For

 the ’581 patent, the only evidence referenced in IV’s supplemental response was a purported

 invention disclosure form, IV-FEDEX00129596-99. Id. at 3-4. Accordingly, IV should be

 limited to referencing this form, and no other information on conception or reduction to practice

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 for the ’581 patent. Lastly, for the ’586 patent, IV’s interrogatory response provided no

 information beyond that stated on the face of the patent, and thus it should be precluded from

 discussing conception, reduction to practice, or other information regarding the development of

 the alleged invention of the ’586 patent. Further, IV’s Rule 30(b)(6) witness on conception and

 reduction to practice, Thomas Choi, was unable to provide any information on the topic beyond

 that stated in IV’s responses to Interrogatory No. 16. Choi Dep. 57:6-60:4, Nov. 9, 2017 (Ex. F).

    7. IV Should Be Precluded from Identifying Irrelevant and Prejudicial Licenses,
       Licensees, or Royalties from Its Portfolio

        The Court should preclude IV from identifying licenses, licensees’ names, royalties, or

 revenue from its portfolio that are irrelevant and prejudicial. Examples include

          , which are portfolio licenses that include payments ranging from

                                      . None of these licenses has any relevance to the asserted

 patents, since they include licenses to hundreds or thousands of IV patents. Neither damages

 expert in this case relies on them to support their respective opinions. Other examples include

 IV’s alleged licensing revenues, which it claims as “exceeding $4.3 billion.” See Intellectual

 Ventures: Investor Relations, http://www.intellectualventures.com/about/investor-relations (last

 visited March 28, 2018).

        To support a damages calculation, prior licenses must be “linked” to the patents-in-suit.

 ResQNet.com, Inc. v. Lansa, Inc., 594 F.3d 860, 871 (Fed. Cir. 2010). Without linking the prior

 licenses, the fact finder cannot “adequately evaluate[] the probative value of [the] agreements.”

 Lucent Techs., Inc. v. Gateway, Inc., 580 F.3d 1301, 1328 (Fed. Cir. 2009). The proponent bears

 the burden to prove the licenses are sufficiently comparable to the hypothetical license. Id. at

 1329; see also CoreLogic Info. Sols., Inc. v. Fiserv, Inc., No. 2:10-cv-132, 2012 WL 4761739, at

 *2 (E.D. Tex. Sept. 20, 2012) (“[N]o party may introduce the amount of a settlement or royalty

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 payment until the technical and economic comparability of the settlement or license has been

 established or will not be disputed.”); Uniloc USA, Inc. v. Microsoft Corp., 632 F.3d 1292, 1320

 (Fed. Cir. 2011) (references to total revenue do nothing but “skew the damages horizon for the

 jury, regardless of the contribution of the patented component to this revenue”). Here, there is no

 dispute that these licenses and their purported revenue are irrelevant, since neither side’s

 damages expert relies on them. Their only impact at trial would be to unfairly prejudice the jury

 into considering a damages ballpark                          and to imply, through peer pressure,

 that other large companies have taken licenses to other patents in IV’s portfolio. Under FED. R.

 EVID. 402 and 403, these licenses should be excluded.

    8. IV Should Be Precluded from Referencing the Parties’ Discovery Disputes and/or
       the Adequacy of Discovery

        IV should be precluded from referencing or introducing evidence of any discovery

 dispute between the parties, including any alleged discovery deficiencies, the subject matter of

 any such disputes, correspondence, and associated motions to compel. Discovery disputes,

 motions to compel, and their subject matter are not relevant to any disputed issue presented at

 trial and would be prejudicial to the parties. FED. R. EVID. 402, 403; see, e.g., Ceats, Inc. v.

 TicketNetwork, Inc., 2:15-cv-01470, slip op. at 3 (E.D. Tex. Jan. 17, 2018) (Dkt. 254) (Ex. G);

 Evicam Int’l, Inc. v. Enforcement Video, LLC, 4:16-cv-00105, slip op. at 3 (E.D. Tex. June 30,

 2017) (Dkt. 177) (Ex. H). The Court should exclude any such evidence from the jury.

    9. IV Should Be Precluded from Referencing Procedural Events in This Case

        The Court should exclude all evidence, argument, or reference to any pretrial motions or

 orders. For example, IV should be precluded from referencing any procedural motions filed by

 the FedEx Defendants to transfer or stay the case. Similarly, IV should be prevented from

 referencing its own procedural motions, such as those to amend its infringement contentions or

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 complaint. Pretrial motions and procedural events relate to issues of law that are irrelevant to the

 trier of fact, and would serve only to prejudice the parties. FED. R. EVID. 403, 605; Jones v.

 Benefit Trust Life Ins. Co., 800 F.2d 1397, 1400 (5th Cir. 1986) (holding that pretrial rulings are

 not relevant evidence and that their admission would be “at odds with FED. R. EVID 605”); see

 also Evicam, slip op. at 3 (Ex. H).

    10. IV Should Be Precluded from Asserting Infringement Against “FedEx” Collectively

        The Court should preclude IV from asserting infringement theories against “Defendants,”

 “FedEx,” or any other collective designation grouping two or more of the Defendants together.

 In a case where IV is asserting four unrelated patents against seven distinct defendants and at

 least eleven accused instrumentalities, such collective designations would hopelessly confuse the

 jury, unfairly prejudice Defendants, and potentially taint the jury’s findings. The only

 conceivable reason for IV to blur corporate distinctions is to conflate the separateness of the

 Defendants and impute their actions to each other, which this Court has recognized as improper.

 See, e.g., Realtime Data, at slip op. 2 (Ex. I) (granting motion in limine precluding remarks

 imputing acts of a nonparty to a Defendant).

        First, asserting infringement against “FedEx” collectively would imply to the jury that all

 of the named Defendants make, use, or sell all of the accused instrumentalities—a contention IV

 does not and cannot maintain. See Dkt. 353 at 2-4.

        Second, asserting infringement against “FedEx” collectively would imply to the jury that

 the acts of all of the Defendants could be imputed to each other—a theory of vicarious liability

 contrary to law and not alleged by IV. See, e.g., Kasprzak v. Am. Gen. Life & Acc. Ins. Co., 914

 F. Supp. 144, 147 (E.D. Tex. 1996) (“[T]here must be something more than mere unity of

 interest, ownership, and control for a court to treat the subsidiary as the alter ego of the parent


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 and make the parent liable for the subsidiary’s actions.” (citing Lucas v. Tex. Indus., Inc., 696

 S.W.2d 372, 374 (Tex. 1984))); see also Alford v. Access Indus., Inc., No. 1:15-cv-00059, 2016

 WL 3460775, at *4 (E.D. Tex. Feb. 8, 2016). IV should not be permitted to ignore corporate

 distinctiveness just because it might be more argumentatively convenient to do so.

        Third, IV has not provided sufficient facts to establish joint or vicarious liability under

 Akamai Techs., Inc. v. Limelight Networks, Inc., 797 F.3d 1020 (Fed. Cir. 2015) (en banc). IV

 has not adduced evidence that any named Defendant “directs or controls” all other Defendants in

 the case. Id. at 1022. Nor has IV alleged liability as a “joint enterprise,” which requires “(1) an

 agreement, express or implied, among the members of the group; (2) a common purpose to be

 carried out by the group; (3) a community of pecuniary interest in that purpose, among the

 members; and (4) an equal right to a voice in the direction of the enterprise, which gives an equal

 right of control.” Id. at 1023. To the extent IV argues that it has alleged joint enterprise liability,

 it has not provided any facts to support it.

        Fourth, while IV has alleged vicarious liability in a few narrow contexts, see Dkt. 353 at

 2-4, permitting IV to refer to Defendants collectively would impermissibly assume as true what

 IV must prove a trial. Just as IV cannot establish infringement by labeling the Defendants as

 “infringers” generally, IV cannot prove vicarious liability by blurring corporate distinctions and

 grouping Defendants together in the first instance.

        Finally, the jury would infer from IV’s collective designations an invitation or implied

 propriety to do the same. This could irreparably mar the jury’s findings and create impossible

 verdicts, such as a finding that one Defendant makes or uses an accused product that no party

 alleges it does, or that a Defendant infringes a patent that IV has not accused of infringing. The

 risk of juror confusion is substantial here, given the similarities in name between many of the


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 Defendants and the jury’s lack of familiarity with the corporate and legal distinctions between

 FedEx entities. Rather than invite the jury to speculate or guess, IV should be committed to

 specifically identifying which Defendant it alleges infringes each asserted patent.

    11. IV Should Be Precluded from Characterizing Actions of the FedEx Defendants as
        “Stealing,” “Copying,” “Pirating,” or Any Other Improper Taking from IV

        Defendants request the Court to preclude IV from characterizing actions of the FedEx

 Defendants as “stealing,” “copying,” “pirating,” or any other charged words suggesting an

 improper taking from IV. Such charged words have no probative value and would undoubtedly

 prejudice Defendants before a jury. FED. R. EVID. 403. For this reason, this Court often precludes

 plaintiffs in patent cases from using words such as “copying,” “stealing,” “robbing,” or other

 words implying an improper taking. See, e.g., Huawei Techs. Co. Ltd. v. T-Mobile US, Inc., No.

 2:16-cv-00052, slip op. at 13 (E.D. Tex. Sept. 29, 2017) (Dkt. 440) (Ex. J); Implicit, LLC v.

 Trend Micro, Inc., No. 6:16-cv-00080, slip op. at 6 (E.D. Tex. Oct. 3, 2017) (Dkt. 253) (Ex. K).

 Defendants respectfully ask the Court to take the same approach here.

    12. IV Should Be Precluded from Relying on Defendants’ Entire Source Code
        Computer as an Exhibit

        Defendants request the Court to preclude IV from relying on Defendant’s entire “source

 code computer” as an exhibit. The source code computer contains nearly three terabytes of

 source code files. The only sensible purpose IV would have for designating an entire computer

 full of source codes files is that IV intends to rely on files that it previously chose not to print in

 accordance with the Protective Order, not to identify in expert reports, and not to include on the

 exhibit list exchanged in accordance with the DCO. The Court should therefore limit IV to

 relying on the source code files it specifically designated in its exhibit list, and not countenance

 IV’s implied request to surprise Defendants at trial.


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        During discovery, Defendants permitted IV to make copies of source code files well

 above the limits imposed by the Protective Order. Dkt. 70 ¶ 10(h). When the time came to

 exchange exhibit lists, IV asked Defendants for permission to submit a “list of electronic [source

 code] files” that it wanted to admit as evidence. (Ex. L). Defendants objected to this approach, as

 it would allow IV to flout discovery deadlines, violate the Court’s Protective Order on electronic

 copies of source code (Dkt. 70 ¶ 10(g)), and theoretically enable IV to rely on documents never

 specifically identified in its exhibit list or other papers. IV responded by designating the entire

 source code computer on its exhibit list. As noted, that computer contains nearly three terabytes

 of source code.

        The Court should prevent this overreach by precluding IV from relying on source code

 documents not specifically identified on its exhibit lists. “[W]hen a district court has required the

 identification of exhibits pursuant to a Rule 16 pretrial order, the district court has broad

 discretion in deciding whether to admit unlisted exhibits into evidence.” Eason v. Fleming Cos.,

 Inc., No. 92-1390, 1993 WL 13015208, at *5 (5th Cir. 1993) (citing cases); see also Gilbert v.

 Tulane Univ., 909 F.2d 124, 127 (5th Cir. 1990). Here, the parties exchanged exhibit lists

 pursuant to the Court’s amended Docket Control Order. It would be highly prejudicial for IV to

 try to rely on untimely disclosed documents due to the “undue delay” in presenting them. FED. R.

 EVID. 403. Indeed, doing so would defy the entire purpose of the Court’s schedule. The Court

 should therefore preclude IV from relying on source code documents not specifically identified

 on its exhibit list. See, e.g., Eason, 1993 WL 13015208, at *5 (affirming exclusion of a report

 offered on the third day of trial when it was not listed on plaintiff’s exhibit list); Gilbert, 909

 F.2d at 127 (“The failure to submit an exhibit for introduction at trial until just days before the




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 trial begins is a sufficient reason to deny its admission.”); Burdis v. Tex. & P. Ry. Co., 569 F.2d

 320, 323 (5th Cir. 1978) (affirming exclusion of photographs not listed in a pretrial exhibit list).

    13. IV Should Be Precluded from Asserting Pre-Suit Knowledge of the Asserted Patents

        The Court should preclude IV from asserting pre-suit knowledge of any of the asserted

 patents at trial. As the party seeking enhanced damages, IV bears the burden of showing it is

 entitled to the relief sought. Erfindergemeinschaft UroPep GbR v. Eli Lilly & Co., No. 2:15-cv-

 1202-WCB, 2017 WL 2190055, at *1 (E.D. Tex. May 18, 2017)). To date, IV has adduced only

 two items of evidence purporting to show Defendants’ knowledge of the asserted patents:

 (1) IV’s complaint filed on August 31, 2016, and (2) a letter, dated August 30, 2016, purportedly

 sent via overnight mail from IV to Defendants’ in-house counsel. None of IV’s damages or

 technical experts claim that Defendants knew of the asserted patents prior to August 30, 2016.

 Nor has IV alleged that Defendants knew of the patents before this date in its initial disclosures

 or any of its interrogatory responses. Thus, under FED. R. CIV. P. 26 and 37, the Court should

 preclude IV from asserting knowledge of any of the asserted patents prior to August 30, 2016.

 See Enova Tech. Corp. v. Initio Corp., C.A. No. 10-04, slip op. at 2 (D. Del. Jan 31, 2013) (Dkt.

 458) (Ex. M) (precluding plaintiff from offering “improper or insufficient pre-suit knowledge” of

 the asserted patents); IGT v. Alliance Gaming Corp., No. 2:04-cv-1676, slip op. at 10-11 (D.

 Nev. Oct. 21, 2008) (Dkt. 953) (Ex. N) (excluding evidence on pre-suit knowledge based on

 plaintiff’s interrogatory responses).

    14. IV Should Be Precluded from Referencing or Introducing Evidence or Testimony
        Regarding Unrelated FedEx Litigations and Settlement Amounts

        The Court should preclude IV from introducing any argument, evidence, reference,

 testimony, or elicitation of any testimony related to any other litigations involving the FedEx

 Defendants, including the amounts for which the FedEx Defendants may have settled other

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 litigations, that are not expressly addressed in a party’s expert report. Prior unrelated cases

 generally involve different legal issues, different parties, and potentially different patents than

 those asserted in this litigation, and would only serve to confuse and mislead the jury. Unless

 specifically discussed by an expert in this case and thus shown to be relevant, they are irrelevant

 to the issues in the present litigation, and as such have no probative value or legitimate purpose.

 Accordingly, any reference to prior litigations or settlement amounts should be excluded, except

 as discussed in a party’s expert report, as unfairly prejudicial and tending to mislead and confuse

 the jury into resolving this case based on factors other than the issues and evidence presented in

 this case. See FED. R. EVID. 402, 403, 408; See, e.g., Retractable Techs., Inc. v. Beckton,

 Dickinson & Co., 2009 WL 8725107, at *2 (E.D. Tex. Oct. 8, 2009) (“On balance, evidence of

 other litigation offered to prove Defendant’s liability or the extent of damages should be

 excluded pursuant to at least Federal Rules of Evidence 403, 404, and 408.”) (internal citations

 omitted); Semcon IP, Inc. v. Huawei Device USA, Inc., No. 2:16-cv-00437, slip op. at 2 (E.D.

 Tex. Dec. 15, 2017) (Dkt. 490) (Ex. O).




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  Dated: March 30, 2018                 Respectfully submitted,

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                                        and Print Services, Inc., and GENCO
                                        Distribution System, Inc. (d.b.a. FedEx
                                        Supply Chain Distribution System, Inc.)




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                                CERTIFICATE OF SERVICE

        I hereby certify that all counsel of record who are deemed to have consented to electronic

 service are being served on March 30, 2018, with a copy of this document via email.


                                                     /s/ Jeffrey A. Berkowitz
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